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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

   ETHEL MITCHELL, et al.,                  Civ. No. 24-4109 (GC)(JBD)

                Plaintiffs,

          v.

   KENVUE, INC., et al.,

                Defendants.


   ASHLY JONES, et al.,                     Civ. No. 24-8571 (GC)(JBD)


                Plaintiffs,


   v.


   KENVUE, INC., et al.,


                Defendants.


   ALAN MONTENEGRO, et al.,                 Civ. No. 24-9226 (GC)(JBD)


                Plaintiffs,


   v.


   JOHNSON AND JOHNSON
   CONSUMER, INC., et al.,


                Defendants.
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                          MEMORANDUM ORDER
                       CONSOLIDATING CASES AND
                 APPOINTING INTERIM LEAD CLASS COUNSEL

       Before the Court in these putative class actions are competing motions to

 appoint interim lead class counsel. See Mitchell, et al., v. Kenvue, Inc., et al.,

 Civ. No. 24-4109 (GC)(JBD) (“Mitchell”), Dkt. 51; Jones, et al., v. Kenvue, Inc., et al.,

 Civ. No. 24-8571 (GC)(JBD) (“Jones”), Dkt. 23; and Montenegro, et al., v. Johnson &

 Johnson Consumer Inc., et al., Civ. No. 24-4109 (GC)(JBD) (“Montenegro”), Dkt. 80.

 The Court has reviewed the motion papers and enters this non-dispositive order

 pursuant to Federal Rules of Civil Procedure 23(g)(3), 42(a) and 72; Local Civil

 Rule 72.1(a)(1); and 28 U.S.C. § 636(b)(1)(A). For the reasons set forth below, the

 Court appoints R. Brent Wisner, Esq., of Wisner Baum, L.L.P.; Nick Suciu III, Esq.,

 of Milberg Coleman Bryson Phillips Grossman, PLLC; and Phil Fraietta, Esq., of

 Bursor & Fisher P.A. as interim co-lead class counsel for plaintiffs. With the

 agreement of all parties and pursuant to Rule 42(a), the Court also consolidates the

 actions for all purposes.

 I.    BACKGROUND AND PROCEDURAL HISTORY

       In each of these cases, plaintiffs, acting on behalf of a nationwide class and

 various sub-classes of consumers, assert state-law claims against defendants

 Kenvue, Inc. (“Kenvue”) and Johnson & Johnson Consumer Inc. (“J&J”) in

 connection with the defendants’ marketing and sale of over-the-counter acne

 medication—sold under the brand names Neutrogena and Clean & Clear—that


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 plaintiffs allege contained benzoyl peroxide (“BPO”). Plaintiffs in Montenegro filed

 suit on March 8, 2024 in the United States District Court for the Central District of

 California; plaintiffs in Mitchell filed suit in this Court on March 22, 2024; and

 plaintiffs in Jones filed suit in the United States District Court for the Western

 District of Missouri on July 31, 2024. By agreement, Jones was transferred to this

 Court on August 20, 2024. Over plaintiffs’ opposition, Montenegro was transferred to

 this Court on September 17, 2024.

       In a nutshell, plaintiffs in each action allege that defendants failed

 appropriately to warn that their products contained unsafe levels of the carcinogen

 benzene and that the BPO in the products can degrade to benzene in certain

 conditions to an unacceptable and dangerous level. As a result, plaintiffs allege that

 they were misled into purchasing misbranded and adulterated products under state

 and federal law. To recover for that alleged harm, plaintiffs assert claims under

 various state laws for consumer fraud, deceptive trade practices, breach of warranty,

 and unjust enrichment.

       Defendants deny the legal and factual allegations in plaintiffs’ complaints.

 They moved to dismiss the complaint in Mitchell, but the Court terminated that

 motion without prejudice pending the appointment of interim lead class counsel.

 Likewise, defendants moved to dismiss the complaint in Montenegro while the case

 was pending in the Central District of California, but the court there did not address




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 that motion, instead opting to transfer the matter here. With the three cases now

 before this Court, the Court consolidates them and appoints interim class counsel.

 II.   DISCUSSION

       A.     CONSOLIDATION

       All parties agree that consolidation of these cases for all purposes is

 appropriate. The Court agrees as well. Pursuant to Rule 42(a), the Court may

 consolidate actions that “involve a common question of law or fact.” Fed. R. Civ. P.

 42(a). The Court has broad authority to consolidate actions for trial involving

 common questions of law or fact if, in its discretion, it finds that consolidation would

 “facilitate the administration of justice.” Ellerman Lines, Ltd. v. Atl. & Gulf

 Stevedores, Inc., 339 F.2d 673, 675 (3d Cir. 1964). The Court here has no doubt that

 consolidation will minimize delay, expense, and inefficiency. While there are some

 minor variations in the factual allegations and causes of action asserted, there is no

 dispute that the operative complaints and legal theories in the Mitchell, Jones, and

 Montenegro cases are substantively the same. See, e.g., Montenegro, Dkt. 60 at 2

 (court order explaining that each action “rel[ies] on [a laboratory’s] findings about

 benzene in [d]efendants’ BPO products and similarly allege that [d]efendants, by

 failing to warn consumers of the risk of BPO degrading into benzene in their

 products, caused consumers to purchase products they would not have bought had

 they known of the risk”). Indeed, failing to consolidate these cases would be




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 inefficient and a waste of judicial resources. Cf. id. at 10 (transferring Montenegro to

 this Court to enable consolidation).1

       Accordingly, the Court will direct the Clerk to consolidate these matters for all

 purposes under docket number 24-4109, and to assign the consolidated cases the

 master caption “In re Kenvue BPO Products Liability Litigation.” The Court also

 will direct the Clerk to close docket numbers 24-8571 and 24-9226.

       B.     APPOINTMENT OF INTERIM LEAD CLASS COUNSEL

       The Court next considers the appointment of interim lead class counsel.

 Counsel for the Montenegro plaintiffs seek appointment on the one hand; and

 counsel for the Mitchell and Jones plaintiffs jointly seek appointment on the other.

 The Court gave counsel for the plaintiff groups the opportunity to agree on a joint

 leadership arrangement; however, the parties could not agree, prompting these

 motions. The Court now decides them.

       Rule 23(g)(3) authorizes the Court to “designate interim class counsel to act on

 behalf of the putative class before determining whether to certify the action as a

 class action.” Fed. R. Civ. P. 23(g)(3). This typically occurs where “a large number of

 putative class actions have been consolidated or otherwise are pending in a single



 1      In August 2024, the Judicial Panel on Multi-District Litigation denied an
 application to centralize all pending BPO-related litigation in a single district.
 See In re Benzoyl Peroxide Marketing, Sales Practices and Prods. Liab. Litig.,
 743 F. Supp. 3d 1373 (J.P.M.L. Aug. 1, 2024). In doing so, the panel recognized the
 efficiency of creating defendant-specific “hubs.” Id. at 1374-75. Consolidating these
 cases is consistent with that approach.

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 court.” In re Apple Inc. Smartphone Antitrust Litig., Civ. No. 24-3113 (JXN), 2024

 WL 4512016, at *2 (D.N.J. Oct. 17, 2024) (citation omitted).2 “Although neither the

 federal rules nor the Advisory Committee Notes expressly so state, it appears to be

 generally accepted that the considerations set out in Rule 23(g)(1)(C), which govern

 the appointment of class counsel once a class is certified, apply equally to the

 designation of interim class counsel before certification.” Yaeger v. Subaru of Am.,

 Inc., Civ. No. 14-4490 (JBS), 2014 WL 7883689, at *1 (D.N.J. Oct. 8, 2014) (citation

 omitted). Accordingly, the Court considers the following factors:

       (i)     the work that counsel has done in identifying or investigating potential
               claims in the action;

       (ii)    counsel’s experience in handling class actions, other complex litigation,
               and the types of claims asserted in the action;

       (iii)   counsel’s knowledge of the applicable law; and

       (iv)    the resources that counsel will commit to representing the class.


 2     The Manual for Complex Litigation provides additional guidance regarding
 appointment of interim lead counsel before class certification:

       If the lawyer who filed the suit is to be the only lawyer seeking
       appointment as class counsel, appointing interim class counsel may be
       unnecessary. If, however, there are a number of overlapping,
       duplicative, or competing suits pending in other courts, and some or all
       of those suits may be consolidated, a number of lawyers may compete
       for class counsel appointment. In such cases, designation of interim
       counsel clarifies responsibility for protecting the interest of the class
       during precertification activities, such as making and responding to
       motions, conducting any necessary discovery, moving for class
       certification, and negotiating settlement.

 Manual for Complex Litigation (Fourth) § 21.11, at 246 (2004). Such is this case.

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 Fed. R. Civ. P. 23(g)(1)(A). The Court also may consider “any other matter pertinent

 to counsel’s ability to fairly and adequately represent the interests of the class.”

 Fed. R. Civ. P. 23(g)(1)(B); Third Circuit Task Force Report, Selection of

 Class Counsel, 208 F.R.D. 340, 419-20 (3d Cir. 2002) (listing additional

 considerations regarding counsel’s motivation, experience, and understanding of case

 and lead plaintiff’s economic stake in litigation). “If more than one adequate

 applicant seeks appointment, the court must appoint the applicant best able to

 represent the interests of the class.” Fed. R. Civ. P. 23(g)(2). The selection of

 interim lead counsel is a decision within the Court’s broad discretion. See Garbaccio

 v. St. Joseph’s Hospital, Civ. No. 16-2740 (JMV), 2017 WL 1196458, at *2

 (D.N.J. Mar. 13, 2017) (citation omitted).

       Upon review of the competing applications for appointment of interim class

 counsel here, the Court finds that counsel for each of the plaintiff groups are

 qualified and experienced in handling class actions and other complex litigation; that

 they are knowledgeable in the applicable law relevant to these cases; and that they

 are capable of devoting and willing to devote adequate time, energy, and resources

 on behalf of the plaintiff classes in prosecuting this litigation. Accordingly, the

 second, third, and fourth factors generally are neutral.

       Considering the remaining factor and the Court’s overall, holistic assessment

 of counsel best positioned to represent the plaintiff classes, the Court selects counsel

 for the Montenegro plaintiffs to act as interim co-lead counsel. Messrs. Wisner,


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 Suciu, and Fraietta, and their respective firms and colleagues, are experienced

 practitioners in the consumer class-action space—including other class actions

 alleging that defendants sold adulterated drugs—and have devoted significant time

 and resources in developing the factual allegations and legal theories that underlie

 these cases and other BPO-related litigation pending throughout the country,

 including conducting extensive scientific research and testing. Counsel filed the

 Montenegro action before the complaints in Mitchell and Jones, a fact to which the

 Court gives some attention.3 More importantly, it is apparent that the Montenegro

 complaint formed a substantial basis for the complaints in Mitchell and Jones.

 As counsel correctly notes, the Mitchell and Jones complaints contain numerous

 passages that are set forth verbatim from the Montenegro complaint.4 This reflects

 Montenegro counsel’s primary efforts to investigate, develop, and bring these cases.


 3       Counsel for Mitchell and Jones make several points related to the timing and
 procedural posture of the cases, which they argue weigh in favor of selecting them as
 interim counsel rather than counsel for Montenegro. These points do not persuade.
 First, counsel for Mitchell and Jones observe that whereas Mitchell was the first case
 to name Kenvue as a defendant, plaintiffs in Montenegro originally named only J&J
 (Kenvue’s affiliate) as a defendant, only adding Kenvue in May 2024 after the
 Mitchell complaint had been filed. Although Mitchell was the first case to name
 Kenvue as a defendant, in no real sense does that make it the first-filed case.
 Similarly, the fact that Mitchell was the first of these cases filed in this district has
 little bearing on the Court’s decision. Finally, Montenegro counsel’s opposition to the
 motion to transfer the case to this Court has no bearing on the issue before the Court
 now that the case is here, viz., who is best positioned to represent the plaintiff
 classes on an interim basis.

 4     The Court recognizes that the complaints in Mitchell and Jones include some
 factual allegations and causes of action that do not appear in Montenegro or any


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        Based on the totality of circumstances presented, the Court concludes that

 Messrs. Wisner, Suciu, and Fraietta, and their respective firms and colleagues, will

 best and most effectively represent the putative plaintiff classes in this case.5

 The Court will appoint them as interim co-lead counsel for all purposes through a

 decision on class certification.6

 III.   CONCLUSION

        For the reasons stated and good cause appearing, the Court ORDERS as

 follows:

        1.     The Clerk shall reactivate the motion to consolidate filed at [Dkt. 41] in

 Civ. No. 24-4109. That motion is GRANTED, and the Clerk is directed to

 CONSOLIDATE these matters (Civ. Nos. 24-4109; 24-8571; and 24-9226) for all

 purposes under docket number 24-4109 and to assign the consolidated action the


 other complaint. While the Court is not prepared to brand Mitchell and Jones as
 “copycat” actions, it nonetheless gives significant weight to the fact that a sizeable
 portion of the Montenegro complaint subsequently appeared verbatim in the Mitchell
 and Jones complaints.

 5      Because Mr. Fraietta is admitted to the bar of this Court (and has sponsored
 the pro hac vice admission of Messrs. Wisner and Suciu and several of their
 colleagues), the Court does not appoint separate liaison counsel for plaintiffs.

 6     The Court notes that it has given some consideration to appointing some
 combination of counsel for the three plaintiff groups to be interim co-lead counsel.
 Given the apparent disagreement amongst counsel as to an appropriate leadership
 structure, the Court has opted against that course out of concern that it will be
 counterproductive. Nonetheless, because interim lead counsel will be entrusted to
 represent all plaintiffs through a decision on class certification, the Court is
 confident that appointed counsel will consider the views expressed by counsel for the
 Mitchell and Jones plaintiffs as the litigation proceeds.

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  master caption “In re Kenvue BPO Products Liability Litigation.” All future filings

  in the consolidated action shall bear that caption. Upon effecting the consolidation,

  the Clerk shall CLOSE docket numbers 24-8571 and 24-9226.

        2.     The Court APPOINTS as interim co-lead class counsel R. Brent

  Wisner, Esq., of Wisner Baum, L.L.P.; Nick Suciu III, Esq., of Milberg Coleman

  Bryson Phillips Grossman, PLLC; and Phil Fraietta, Esq., of Bursor & Fisher P.A. to

  represent all putative classes and sub-classes of plaintiffs in these actions through a

  decision on class certification.

        3.     Interim co-lead counsel shall have the following authority and

  responsibilities:

               a.     preparation, coordination, and filing of a consolidated amended

                      complaint;

               b.     preparation of and presentation to the Court and opposing

                      parties the position of the named plaintiffs and putative class

                      members on all other matters arising during pretrial

                      proceedings;

               c.     serving as the primary contact for communications between

                      plaintiffs and defendants, and between plaintiffs and the Court;

               d.     convening and coordinating meetings among plaintiffs’ counsel,

                      and delegation of specific tasks to other counsel to ensure that all

                      pretrial proceedings are conducted efficiently and effectively;


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             e.    entering into stipulations with opposing counsel as necessary for

                   the conduct of the litigation;

             f.    initiation and coordination of discovery on behalf of the named

                   plaintiffs and putative class members consistent with applicable

                   rules and orders of the Court;

             g.    hiring of expert witnesses and consultants on behalf of the

                   named plaintiffs and putative class members, as needed to

                   prepare for class certification and trial, and advancement of

                   other costs that may be reasonable and necessary to the conduct

                   of the litigation;

             h.    coordinating and holding settlement negotiations on behalf of the

                   named plaintiffs and putative class members, and, if appropriate,

                   entering into a settlement that is fair, reasonable, and adequate

                   on behalf of the putative class members;

             i.    coordination with all counsel to ensure that schedules are met,

                   unnecessary expenditures of time and funds are avoided, and

                   that the interests of all named plaintiffs and putative class

                   members are fairly and adequately represented; and

             j.    performance of such other duties incidental to the proper and

                   efficient prosecution and coordination of pretrial activities on




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                      behalf of plaintiffs and putative class members or authorized by

                      further order of this Court.

        4.     The Court may, as necessary and appropriate, supplement this Order to

  authorize or direct interim co-lead counsel to engage in additional actions consistent

  with or in addition to the powers enumerated above.

        5.     Counsel for the parties shall meet and confer and, on or before May 9,

  2025, file via CM/ECF a joint letter proposing an agreed-upon schedule for the filing

  of a consolidated amended complaint and briefing on defendants’ anticipated motion

  to dismiss that complaint. If the parties cannot agree on a schedule, they shall set

  forth their competing proposals in the joint letter.

        6.     The Clerk is directed to mark the following motions closed:

               a. Civ. No. 24-4109, Dkts. 41 and 51;

               b. Civ. No. 24-8571, Dkt. 23; and

               c. Civ. No. 24-4109, Dkt. 80.

  IT IS SO ORDERED this 28th day of April, 2025.




                                                   J. BRENDAN DAY
                                                   UNITED STATES MAGISTRATE JUDGE




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